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   1
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       Facsimile: (212) 425-5288                   Facsimile: (213) 624-3755
   6
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  10   Facsimile: (714) 668-6391
  11   Attorneys for Tyco Healthcare Group LP
       d/b/a Covidien, Covidien LP, and
  12   Covidien Sales LLC
  13
  14
  15
                        THE UNITED STATES DISTRICT COURT
  16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               SOUTHERN DIVISION
  17   APPLIED MEDICAL RESOURCES            SACV 11-01406 JVS (ANx)
       CORPORATION,                        Consolidated with SACV13-
  18                                               24 JVS (ANx)
                         Plaintiff,
  19                                               COVIDIEN’S AND
             v.                                    GAYA’S DESIGNATIONS
  20                                               OF DEPOSITION
       TYCO HEALTHCARE GROUP LP d/b/a              TESTIMONY
  21   COVIDIEN,
                                                   Honorable James V. Selna
  22                     Defendant.
                                                   Trial Date: March 11, 2014
  23                                               Time: 9:00 AM
                                                   Place: Courtroom 10C
  24
  25
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  27
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   1
   2            Tyco Healthcare Group LP d/b/a Covidien, Covidien LP, and Covidien Sales
   3   LLC (“Covidien”) and Gaya Limited (“Gaya”) hereby submit the following
   4   deposition designations in the above-captioned matter.
   5
   6                                      Jeremy Albrecht
                    No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
   7                                Deposed on November 15, 2012
                                                                                         Applied’s
   8                     Applied's
                                                       Covidien and
                                                                        Covidien and    Objections to
                                                         Gaya's
        Covidien and     Objections     Applied's                         Gaya's        Covidien and
   9      Gaya's        to Covidien     Counter-
                                                       Objections to
                                                                         Counter-         Gaya’s
                                                        Applied's
        Designations    and Gaya's     Designations                      Counter-        Counter-
  10                    Designations
                                                        Counter-
                                                                        Designations     Counter-
                                                       Designations
                                                                                        Designations
  11   7:23-8:11                       12:19-22       FRE 802          13:23-14:9
  12                                                  FRE 106;
                                                      FRE 402;
  13                                                  FRE 403;
                                                      FRE 802;
  14                                                  FRCP
                                                      32(a)(6)
  15   12:8-10                         40:14-23       (Scope)          40:24-41:8
  16                                                  FRE 402;
                                                      FRE 403;                         402/403
  17   12:23-13:5                      42:9-17        AC               77:6-7
                                                      FRE 402;
  18                                                  FRE 403;                         402/403
  19   41:23-25                        46:4-6         FRE 802          78:2-16
                                                      FRE 402;
  20                                   49:8-13        FRE 403;                         402/403
       42:4-8                                         AC               91:17-21
  21   45:9-11          402/403        68:21          FRE 802
                                                      FRE 106
  22
                                                      FRE 402;
  23                                                  FRE 403;
       45:15-25         402/403        69:14-16       FRE 802
  24                                                  FRE 402;
                                       75:18-
                                                      FRE 403;
  25   46:7-8           402/403
                                       76:11
                                                      FRE 802
  26                                                  FRE 402;
                                       76:24 –
                                                      FRE 403;
                                       77:5
  27   46:12-14         402/403                       FRE 802

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   1
                                        Jeremy Albrecht
   2              No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                  Deposed on November 15, 2012
   3                                                                                  Applied’s
                                                      Covidien and
                        Applied's                                     Covidien and   Objections to
   4                                                    Gaya's
        Covidien and    Objections     Applied's                        Gaya's       Covidien and
                                                      Objections to
          Gaya's       to Covidien     Counter-                        Counter-        Gaya’s
   5                                                   Applied's
        Designations   and Gaya's     Designations                     Counter-       Counter-
                                                       Counter-
                       Designations                                   Designations    Counter-
                                                      Designations
   6                                                                                 Designations
                                                     FRE 402;
   7                                  77:18 –
                                                     FRE 403;
                                      78:1
       46:16-18        402/403                       FRE 802
   8
                                                     FRE 402;
   9                                                 FRE 403;
                                                     FRE 802;
  10                                  80:6 – 82:3
                                                     FRCP
                                                     32(a)(6)
  11   48:1-8          402/403                       (Scope)
  12                                                 FRE 402;
                                                     FRE 403;
  13   48:13           402/403        88:12-19       FRE 802
                                                     FRE 106;
  14                                  90:23 –        FRE 402;
                                      91:16          FRE 403;
  15
       49:6-7          402/403                       FRE 802
  16   49:14-16        402/403
       49:18-50:11     402/403
  17   50:14-16        402/403
  18   50:18-51:2      402/403
       51:13-15        402/403
  19   53:18-21        402/403
  20   53:23-24        402/403
       54:1-25         402/403
  21   55:12-22        402/403
  22   56:3-18         402/403
       56:20-57:24     402/403
  23   58:7-9          402/403
  24   58:16-59:12     402/403
       59:17-60:3      402/403
  25   60:6-7          402/403
  26   60:9-18         402/403
       60:20-22        402/403
  27   60:24-61:3      402/403
  28   61:6-7          402/403


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   1
                                        Jeremy Albrecht
   2              No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                  Deposed on November 15, 2012
   3                                                                                 Applied’s
                                                     Covidien and
                        Applied's                                    Covidien and   Objections to
   4                                                   Gaya's
        Covidien and    Objections     Applied's                       Gaya's       Covidien and
                                                     Objections to
          Gaya's       to Covidien     Counter-                       Counter-        Gaya’s
   5                                                  Applied's
        Designations   and Gaya's     Designations                    Counter-       Counter-
                                                      Counter-
                       Designations                                  Designations    Counter-
                                                     Designations
   6                                                                                Designations
       61:22-62:8      402/403
   7   62:11           402/403
   8   62:13-63:8      402/403
       63:12-13        402/403
   9   65:2-6          402/403
  10   65:12-66:13     402/403
       67:12-68:20     402/403
  11   68:22-69:4      402/403
  12   69:17-21        402/403
       70:3-6          402/403
  13   70:15-71:9      402/403
  14   72:8-14         402/403
       72:16-17        402/403
  15   72:19-73:9      402/403
       74:6-12         402/403
  16
       74:15-16        402/403
  17   74:18-20        402/403
       75:15-17        402/403
  18   76:17-21        402/403
  19   76:23           402/403
       78:17-79:4      402/403
  20                   402/403/60
       79:9-12         2
  21
                       402/403/60
  22   79:14-15        2
                       402/403/60
  23   79:17-22        2
                       402/403/60
  24   84:14-85:10     2
  25                   402/403,
                       602 as to
  26   85:22-86:19     86:5-12
                       402/403/60
  27   87:4-17         2
  28

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   1
                                          Jeremy Albrecht
   2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                    Deposed on November 15, 2012
   3                                                                                              Applied’s
                                                         Covidien and
                         Applied's                                          Covidien and         Objections to
   4                                                       Gaya's
        Covidien and     Objections     Applied's                             Gaya's             Covidien and
                                                         Objections to
          Gaya's        to Covidien     Counter-                             Counter-              Gaya’s
   5                                                      Applied's
        Designations    and Gaya's     Designations                          Counter-             Counter-
                                                          Counter-
                        Designations                                        Designations          Counter-
                                                         Designations
   6                                                                                             Designations
                        402/403/60
   7   87:20-88:2       2
   8   88:4-10          402/403
       90:11-20         402/403
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  12
                                                       Robert Bowes
  13                       No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
  14                                        Deposed on November 14, 2012
                            Applied's
                                                                         Covidien and Gaya's         Covidien and
  15    Covidien and       Objections to
                                               Applied's Counter-           Objections to           Gaya's Counter-
          Gaya's           Covidien and
                                                 Designations            Applied's Counter-            Counter-
  16    Designations         Gaya's
                                                                            Designations             Designations
                           Designations
  17   8:9-10:11                              10:12 – 13:15              FRE 402                   41:19-21
                                                                         FRE 402
  18   13:16-25                               16:11-25                   FRE 403                   41:23-24
                                                                         FRE 402
  19   14:3-5                                 17:4-6                     FRE 403
                                                                         FRE 402
  20                                                                     FRE 403
       14:7-15:4                              17:8 – 18:8                FRE 802
  21                                                                     FRE 402
       15:7-8                                 18:13-19                   FRE 403
  22                                                                     FRE 106
                                                                         FRE 402
       15:10-12                               19:16 – 20:2               FRE 403
  23                                                                     FRE 403
       20:3-19                                23:8-23                    FRCP 32(a)(6) (Scope)
  24                                                                     FRE 403
       20:21-23                               26:1-21                    FRCP 32(a)(6) (Scope)
  25                                                                     FRE 402
                                                                         FRE 403
  26   20:25-22:1                             32:23-25                   V
                                                                         FRE 403
  27   22:3-6                                 36:20 – 37:21              FRE 602
                                                                         FRE 403
  28   24:5-25:3                              38:4-21                    FRE 602


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   1
                                                Robert Bowes
   2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                       Deposed on November 14, 2012
   3                    Applied's
                                                                Covidien and Gaya's     Covidien and
        Covidien and   Objections to
   4      Gaya's       Covidien and
                                          Applied's Counter-       Objections to       Gaya's Counter-
                                            Designations        Applied's Counter-        Counter-
        Designations     Gaya's
   5                                                               Designations         Designations
                       Designations
                                                                FRE 106
   6                                                            FRE 403
       25:6-8                           39:14-22                FRE 602
   7                                                            FRE 106
                                                                FRE 403
   8   25:10-14                         41:10-18                FRE 602
                                                                FRE 403
   9   26:22-28:19                      45:17-22                V
                                                                FRE 403
  10   28:21-24                         45:25                   V
       29:1-30:17
  11   30:19-32:20
  12   33:3-8
       33:11
  13   33:23-34:3

  14   34:5-19
       34:22-24
  15   35:1
       35:4
  16
       35:6-14
  17   35:17
       35:19-36:11
  18
       36:13-14
  19   36:16-19
       37:22-38:3
  20   38:22-39:2
  21   39:4-5
       39:7-9
  22   39:11-12
  23   39:23-40:19
       40:21
  24   40:24-41:3
       41:6-9
  25
       42:17-43:5
  26   43:7
       43:9-15
  27
       43:18-44:2
  28   44:4-5


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   1
                                               Robert Bowes
   2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                       Deposed on November 14, 2012
   3                    Applied's
                                                                Covidien and Gaya's     Covidien and
        Covidien and   Objections to
   4      Gaya's       Covidien and
                                          Applied's Counter-       Objections to       Gaya's Counter-
                                            Designations        Applied's Counter-        Counter-
        Designations     Gaya's
   5                                                               Designations         Designations
                       Designations
       44:7-11
   6
       44:14-16
   7   45:8-16
       46:2-8
   8
       46:11
   9   46:13-47:12
       47:14-15
  10   47:17-25
  11   48:3-4
       48:6-9
  12   48:11-12

  13   48:19-20
       48:23
  14   48:25-49:13
       49:15-16
  15
       49:18-23
  16   49:25-50:1
       50:3-4
  17
       50:6-8
  18   50:10-25
       51:8-14
  19   51:16-17
  20   51:19-23
       52:1
  21   52:4-7
  22   52:18-53:7
       53:9-11
  23   53:13

  24   53:16
       53:19-20
  25   53:22-25
       54:3-5
  26
       54:11-12
  27   54:16-22
       55:1-3
  28
       55:5-8

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   1
                                               Robert Bowes
   2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                       Deposed on November 14, 2012
   3                    Applied's
                                                                Covidien and Gaya's     Covidien and
        Covidien and   Objections to
   4      Gaya's       Covidien and
                                          Applied's Counter-       Objections to       Gaya's Counter-
                                            Designations        Applied's Counter-        Counter-
        Designations     Gaya's
   5                                                               Designations         Designations
                       Designations
       56:2-9
   6
       56:12-13
   7   56:15-20
       56:23
   8
       56:25
   9   57:5-6
       57:8-12
  10   57:14-15
  11   57:19-21
       57:23-58:9
  12   58:12-21

  13   58:23-24
       59:6-13
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   1
   2                                         John Brustad
                    No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
   3                                 Deposed on November 13, 2012
                          Applied's                           Covidien and      Covidien and
   4
       Covidien and     Objections to        Applied's     Gaya's Objections       Gaya's
   5      Gaya's        Covidien and         Counter-          to Applied's       Counter-
       Designations        Gaya's          Designations          Counter-         Counter-
   6                    Designations                          Designations      Designations
                                                           FRE 402
   7                                    21:12-18
       8:7-8                                               FRE 403
   8   11:10-14                         48:5-7
       12:18-13:11                      82:16-23
   9                                                       FRE 402
                                        115:4-17
       14:10-18                                            FRE 403
  10                                                       FRE 402
  11                                                       FRE 403
       14:24-15:4                       139:14-17          FRE 701
  12                                                       FRE 402
                                                           FRE 403
  13   15:6-7                           141:19-142:2       FRE 602
  14                                                       FRE 402
                                        178:16-24
       15:9-12                                             FRE 403
  15                                                       FRE 402
       21:19-22:6                       179:1              FRE 403
  16   22:8-10
  17   22:12-23
       24:12-16
  18   26:2-6
  19   26:8-11
       40:16-19
  20   40:25-41:5
       43:2-10
  21
       43:12-44:2
  22   44:16-22
       46:22-47:9
  23
       47:24-48:4
  24   48:8-19
       49:8-18
  25   49:20-50:7
  26   50:22-51:21
       51:25
  27   52:6-10
  28   52:22-53:5


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    1
                                              John Brustad
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                      Deposed on November 13, 2012
    3                      Applied's                           Covidien and      Covidien and
    4   Covidien and     Objections to        Applied's     Gaya's Objections       Gaya's
           Gaya's        Covidien and         Counter-          to Applied's       Counter-
    5   Designations        Gaya's          Designations          Counter-         Counter-
                         Designations                          Designations      Designations
    6   53:10-14
    7   54:25-55:3
        61:1-4
    8   71:7-9
    9   71:11-12
        72:24-73:2
   10   73:4-5
        73:7-8
   11
        73:10
   12   73:23-74:17
        75:19-76:6
   13
        77:10-13
   14   79:1-25
        80:6-17
   15   82:24-83:20
   16   86:1-4
        86:9-11
   17   86:13-15
   18   94:16-95:14
        95:20-22
   19   96:12-16
   20   97:3-10
        102:1-22
   21   103:2-16
   22   105:11-18
        107:9-16
   23   108:1-12
        108:17-109:5   402/403
   24
        109:8-20       402/403
   25   109:25-110:7   402/403
        110:13-111:1   402/403
   26
        111:3-5        402/403
   27   111:14-21      402/403
        111:25-113:8   402/403
   28   113:14-23      402/403

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    1
                                              John Brustad
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                      Deposed on November 13, 2012
    3                      Applied's                           Covidien and      Covidien and
    4   Covidien and     Objections to        Applied's     Gaya's Objections       Gaya's
           Gaya's        Covidien and         Counter-          to Applied's       Counter-
    5   Designations        Gaya's          Designations          Counter-         Counter-
                         Designations                          Designations      Designations
    6   114:16-115:3   402/403
    7   128:10-13
        129:8-11
    8   132:14-23
    9   134:4-14
        136:18-       402/403 as to
   10   137:20        136:18-23
        138:3-8
   11   138:10-16
   12   138:21-
        139:13
   13   141:9-18
        142:6-19
   14
        143:3-17
   15   143:20-23
        144:16-19
   16
        145:16-20
   17   150:16-
        151:13        402/403
   18   151:15
   19   151:25-152:4 402/403
        156:13-
   20   157:12
        163:8-164:12 402/403
   21   172:19-24
   22   173:4-11      402/403
        173:17-
   23   174:20        402/403
        175:14-177:9
   24
        177:17-23     402/403
   25   177:25-178:2 402/403
        178:4-15
   26
        181:21-25
   27   182:7-20      402/403
        182:22-23
   28   185:23-186:6

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    1
                                              John Brustad
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                      Deposed on November 13, 2012
    3                      Applied's                           Covidien and      Covidien and
    4   Covidien and     Objections to        Applied's     Gaya's Objections       Gaya's
           Gaya's        Covidien and         Counter-          to Applied's       Counter-
    5   Designations        Gaya's          Designations          Counter-         Counter-
                         Designations                          Designations      Designations
    6   186:17-23     402/403
    7   188:15-189:3 402/403
        197:10-16
    8   198:8-199:17
    9   200:13-16
        206:5-14
   10   206:22-207:2
        215:22-
   11   216:10
   12   216:17-21
        218:20-24
   13   223:9-19
   14   223:23-25

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    1
    2                                       John Brustad
                                      No. 05-cv-8914 GPS (SHx)
    3                                Deposed on October 18, 2006
                                                               Covidien and
    4                   Applied's                                               Covidien and
                                                                 Gaya's
        Covidien and   Objections to         Applied's                            Gaya's
    5                                                          Objections to
          Gaya's       Covidien and          Counter-                            Counter-
                                                                Applied's
        Designations     Gaya's            Designations                          Counter-
    6                                                           Counter-
                       Designations                                             Designations
                                                               Designations
    7                                                       FRE 402
    8                                                       FRE 403            17:11-16
        7:10-11                         13:17-25            FRE 602
    9                                                       FRE 402
                                                            FRE 403            19:10-19
   10   7:18-21                         14:21-15:4          FRE 602
                                                            FRE 402
   11                                                       FRE 403
   12   8:8-9                           16:6-21             FRE 602
                                                            FRE 402
   13                                                       FRE 403
        8:15-18                         17:20-18:3          FRE 602
   14                                                       FRE 402
        11:23-12:3                      25:15-26:10         FRE 403
   15
                                                            FRE 402
   16                                                       FRE 403
                                                            FRE 602
   17   12:9-21                         84:8-14             V
                                                            FRE 402
   18                                                       FRE 403
   19                                                       AC
                                                            FRCP 32(a)(6)
   20   13:1-9                          106:20-25           (scope)
                                                            FRE 402
   21                                                       FRE 403
                                                            FRE 602
   22                                                       AC
   23                                                       V
                                                            FRCP 32(a)(6)
   24   14:7-20                         107:3-8             (scope)
                                                            FRE 402
   25                                                       FRE 403
   26                                                       FRE 602
                                                            AC
   27                                                       FRCP 32(a)(6)
        18:18-19:9                      116:5-21            (scope)
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    1
                                            John Brustad
    2                                 No. 05-cv-8914 GPS (SHx)
                                     Deposed on October 18, 2006
    3                                                          Covidien and
                        Applied's                                              Covidien and
    4                                                            Gaya's
        Covidien and   Objections to         Applied's                           Gaya's
                                                               Objections to
          Gaya's       Covidien and          Counter-                           Counter-
    5   Designations     Gaya's            Designations
                                                                Applied's
                                                                                Counter-
                                                                Counter-
    6                  Designations                                            Designations
                                                               Designations
                                                            FRE 402
    7                                                       FRE 403
    8   19:24-20:2                      117:21-25           V
                                                            FRE 402
    9   20:5-7                          118:7-9             FRE 403
                                                            FRE 402
   10   22:13-15                        122:10-123:4        FRE 403
   11                                                       FRE 106
                                                            FRE 402
   12                                                       FRE 403
        23:19-25:2                      126:7-9             FRE 602
   13                                                       FRE 402
                                                            FRE 403
   14                                                       FRCP 32(a)(6)
   15   25:6-14                         132:19-20           (scope)
                                                            FRE 402
   16                                   132:23
                                                            FRE 403
                                                            FRCP 32(a)(6)
   17   62:24-63:3                                          (scope)
                                                            FRE 402
   18
                                                            FRE 403
                                        132:25-133:8
   19                                                       FRCP 32(a)(6)
        74:23-75:12                                         (scope)
   20   78:25-79:14
   21   79:17
        80:3-8
   22   80:10-15
        80:20-23
   23
        81:10-13
   24   84:1-7
        85:3-12
   25   101:10-
   26   102:11
        104:7-9
   27   104:11-12
        104:15-20
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    1
                                             John Brustad
    2                                  No. 05-cv-8914 GPS (SHx)
                                      Deposed on October 18, 2006
    3                                                          Covidien and
                         Applied's                                             Covidien and
    4                                                             Gaya's
        Covidien and    Objections to         Applied's                          Gaya's
                                                               Objections to
          Gaya's        Covidien and          Counter-                          Counter-
    5   Designations      Gaya's            Designations
                                                                 Applied's
                                                                                Counter-
                                                                 Counter-
    6                   Designations                                           Designations
                                                               Designations
        118:18-
    7   119:22
    8   120:7-8
        120:13-19
    9   120:21-121:5
   10   121:8-9
        121:12
   11   121:21-122:4
        122:7-9
   12
        123:9-12
   13   123:14-17
        123:19-24
   14
        124:1
   15   125:3-126:6
        126:12-127:6
   16   149:16-150:7   402/403
   17   150:10-151:2   402/403
        151:4-5        402/403
   18   151:12-20      402/403
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    1
    2                                        John Brustad
                                          No. 50 133T00316 06
    3                          Arbitration Testimony of October 10, 2007
                                                              Covidien and
    4                    Applied's                                             Covidien and
                                                                  Gaya's
        Covidien and    Objections to         Applied's                          Gaya's
    5                                                         Objections to
          Gaya's        Covidien and          Counter-                          Counter-
                                                                 Applied's
        Designations      Gaya's            Designations                        Counter-
    6                                                            Counter-
                        Designations                                           Designations
                                                               Designations
    7                                                       FRE 106
    8                                                       FRE 402
                                                            FRE 403
    9                                                       FRE 602
        862:7-16                         895:19 – 896:2     V                 898:6–899:4
   10   873:14-
        875:19                          941:14-17
   11                                                       FRE 402
   12                                                       FRE 403
        883:17-884:7                    941:22 – 942:11     FRE 602
   13   892:20-893:7
        894:5-10
   14
        895:8-18
   15   896:3-6
        908:12-909:4
   16   909:17-18
   17   913:17-22
        914:4-915:10   402/403/701
   18   915:14-16      402/403/701
   19   917:18-22
        940:6-941:1
   20   941:7-13
   21   941:18-21
        942:12-17
   22   942:22-943:2
        947:12-20
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        954:17-956:5
   24   966:10-
        967:12
   25   967:14-22
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    1
    2                                          Nabil Hilal
                     No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
    3                                 Deposed on September 26, 2012
                                                                Covidien and
    4                      Applied's                                             Covidien and
                                                                   Gaya's
        Covidien and      Objections to       Applied's                             Gaya's
    5                                                           Objections to
            Gaya's        Covidien and         Counter-                            Counter-
                                                                  Applied's
         Designations        Gaya's          Designations                          Counter-
    6                                                             Counter-
                          Designations                                           Designations
                                                                Designations
    7   8:13-14                           49:21-50:19
    8                                                        FRE 402
        25:24-26:16                       95:23-96:5         FRE 403
    9   29:15-24
        30:25-32:14     402/403
   10
        36:13-19        402/403
   11   37:9-16         402/403
        48:8-49:20
   12   53:3-8
   13   61:11-13
        62:10-18
   14   62:25-64:5
   15   65:3-66:12
        87:20-25
   16   88:2-19
   17   95:1-5
        95:12-17
   18   96:21-97:11
        134:3-19
   19
        137:11-138:7    402/403
   20   150:2-19
        151:10-152:7
   21
        152:9-11
   22   173:10-21
        181:24-182:20 402/403
   23   182:24-183:12 402/403
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    1
    2                                         Nabil Hilal
                                      No. 05-cv-8914 GPS (SHx)
    3                                Deposed on November 2, 2006
                                                              Covidien and
    4                    Applied's                                             Covidien and
                                                                 Gaya's
        Covidien and    Objections to        Applied's                           Gaya's
    5                                                         Objections to
          Gaya's        Covidien and         Counter-                           Counter-
                                                               Applied's
        Designations      Gaya's           Designations                         Counter-
    6                                                           Counter-
                        Designations                                           Designations
                                                              Designations
    7                                                       FRE 402
    8   7:10-14                         65:20-25            FRE 403           163:16-17
        44:4-15                         162:4-9
    9                                                       FRE 402
        45:20-46:2                      163:8-15            FRE 403
   10                                                       FRE 402
                                        164:4-7
   11   51:2-7                                              FRE 403
        52:12-14
   12   65:3-19
        105:17-18
   13
        106:2-8
   14   107:1-21
        108:18-19
   15   108:22-109:14
   16   111:2-112:6
        138:21-140:15
   17   160:8-12
   18   162:1-3
        162:15-163:7
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    1
    2                                         Nabil Hilal
                                         No. 50 133T00316 06
    3                          Arbitration Testimony of October 9, 2007
                                                               Covidien and
    4                    Applied's                                              Covidien and
                                                                  Gaya's
        Covidien and    Objections to        Applied's                            Gaya's
    5                                                          Objections to
          Gaya's        Covidien and          Counter-                           Counter-
                                                                Applied's
        Designations      Gaya's            Designations                         Counter-
    6                                                            Counter-
                        Designations                                            Designations
                                                               Designations
    7                                                       FRE 402
    8                                                       FRE 403
                                                            FRCP 32(a)(6)
    9   580:7-8                          624:5-625:8        (scope)            648:1-6
        598:17-22                        648:7-11
   10                                                       FRE 402
                                         649:14-650:2
        603:3-604:9                                         FRE 403
   11
        623:7-15
   12   624:1-4
        647:14-22
   13
        648:13-649:13
   14   656:13-657:5
        657:21-22
   15   658:5-660:14
   16   661:6-662:6

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    1
    2                                         Nabil Hilal
                                         No. 50 133T00316 06
    3                         Arbitration Testimony of October 10, 2007
                                                              Covidien and
    4                    Applied's                                            Covidien and
                                                                 Gaya's
        Covidien and    Objections to        Applied's                          Gaya's
    5                                                         Objections to
          Gaya's        Covidien and         Counter-                          Counter-
                                                                Applied's
        Designations      Gaya's           Designations                        Counter-
    6                                                           Counter-
                        Designations                                          Designations
                                                              Designations
    7                                                      FRE 402
        781:17-782:21                   779:15-20
    8                                                      FRE 403
         784:18-785:1                   785:9-14
    9                                                      FRE 402
           785:3-8                      812:5-813:5        FRE 403
   10                                                      FRE 602
   11                                                      FRE 402
                                                           FRE 403
   12   806:14-807:16                   856:15-858:13      FRE 602
                                                           FRCP 32(a)(6)
   13                                                      (scope)
                                                           FRE 402
   14                                                      FRE 403
                                        859:5-15
   15                                                      FRCP 32(a)(6)
         811:17-812:4                                      (scope)
   16    825:6-826:5
           826:8-10
   17    852:18-853:4
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    1
    2                                         Curtis Huffmire
                        No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
    3                                    Deposed on October 17, 2012
                                                           Covidien and                         Applied’s
    4                      Applied's
                                                             Gaya's          Covidien and      Objections to
         Covidien and     Objections to    Applied's
                                                           Objections to    Gaya's Counter-    Covidien and
    5      Gaya's         Covidien and     Counter-
                                                            Applied's          Counter-       Gaya’s Counter-
         Designations       Gaya's        Designations
                                                            Counter-         Designations        Counter-
    6                     Designations
                                                           Designations                        Designations
                                                          FRE 402
    7                                     31:6-11                          101:13-21
        7:6-10                                            FRE 403
    8                                                     FRE 402
                                          37:15-19                         140:24-141:13
        7:18-22                                           FRE 403                             402/403
    9                                     37:21-23
                                                          FRE 402
        8:19-20                                           FRE 403
   10                                                     FRE 402
                                          74:7-14
        8:23-9:1                                          FRE 403
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                                          75:10 –         FRE 402
   12   9:20-10:3                         76:5            FRE 403
                                          78:3 –          FRE 402
   13   10:12-19                          79:13           FRE 403
                                                          FRE 106
   14                                     101:3-12        FRE 402
   15   12:3-15                                           FRE 403
        14:22-25                          101:13-21
   16                                                     FRE 106
                                          101:22 –
                                                          FRE 402
   17                                     102:3
        15:4-5                                            FRE 403
   18                                                     FRE 106
                                          102:6-9         FRE 402
   19   15:8-11                                           FRE 403
                                                          FRE 106
   20                    402              102:18-22       FRE 402
        16:14-18:5                                        FRE 403
   21                                                     FRE 106
                                          103:24 –
   22                    402                              FRE 402
                                          104:5
        18:12-16                                          FRE 403
   23                                     115:17 –        FRE 402
        19:4-10                           116:25          FRE 403
   24                                     117:7 –         FRE 402
   25   19:23-20:1                        118:9           FRE 403
                                                          FRE 402
                         402              118:18-21
   26   24:11-20                                          FRE 403
                                          118:25 –        FRE 402
   27                    402
        25:3-6                            119:1           FRE 403
                                          119:11 –        FRE 402
   28   25:9
                         402
                                          121:7           FRE 403

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    1
                                              Curtis Huffmire
    2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                         Deposed on October 17, 2012
    3                                                      Covidien and                        Applied’s
                           Applied's
                                                             Gaya's         Covidien and      Objections to
    4    Covidien and     Objections to    Applied's
                                                           Objections to   Gaya's Counter-    Covidien and
           Gaya's         Covidien and     Counter-
                                                            Applied's         Counter-       Gaya’s Counter-
    5    Designations       Gaya's        Designations
                                                            Counter-        Designations        Counter-
                          Designations
                                                           Designations                       Designations
    6                                     121:17 –        FRE 402
                         402
        25:11-15                          123:6           FRE 403
    7                                     123:21 –        FRE 402
                         402
    8   25:22-26:1                        124:15          FRE 403
                                                          FRE 402
                         402              126:2-5
    9   28:20-29:18                                       FRE 403
                                                          FRE 402
   10                    402              126:7-20
        29:19-30:1                                        FRE 403
   11                                     126:22 –        FRE 402
                         402
        30:2-8                            127:3           FRE 403
   12                    402/403          127:6-25
                                                          FRE 402
        37:25-38:7                                        FRE 403
   13                                     130:18 –        FRE 402
                         402/403
        39:4-17                           131:2           FRE 403
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                                                          FRE 402
                         402/403          134:17-23
   15   39:22-40:13                                       FRE 403
                                                          FRE 402
   16                    402/403          135:2-10
        72:7-16                                           FRE 403
                                                          FRE 106
   17                    402/403          140:14-23       FRE 402
   18   72:25-73:20                                       FRE 403
        79:25-80:13      402/403
   19   80:14-19         402/403
        81:6-7           402/403
   20
        81:11-13         402/403
   21   81:15-82:4       402/403
        85:8-11          402/403
   22
        85:14-23         402/403
   23   85:24-86:2       402/403
        86:15-20         402/403
   24   88:1-10          402/403
   25   88:12-18         402/403
        89:21-24         402/403
   26   90:2-91:5        402/403
   27   91:8-23          402/403
        91:24-92:3       402/403
   28   93:7-9           402/403

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    1
                                              Curtis Huffmire
    2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                         Deposed on October 17, 2012
    3                                                      Covidien and                        Applied’s
                           Applied's
                                                             Gaya's         Covidien and      Objections to
    4    Covidien and     Objections to    Applied's
                                                           Objections to   Gaya's Counter-    Covidien and
           Gaya's         Covidien and     Counter-
                                                            Applied's         Counter-       Gaya’s Counter-
    5    Designations       Gaya's        Designations
                                                            Counter-        Designations        Counter-
                          Designations
                                                           Designations                       Designations
    6   96:9-97:14       402/403
    7   97:17-22         402/403
        98:21-99:6       402/403
    8   99:7-100:12      402/403
        100:13-20        402/403
    9
        100:12-101:1     402/403
   10   102:13-
        102:17
   11   102:23-
        103:19
   12
        103:21-22
   13   106:2-6
        106:7-107:15     402/403
   14
        109:2-10         402/403
   15   113:14-
                         402/403
        114:21
   16   124:16-21        402/403
        124:24-
   17                    402/403
        125:19
   18   129:20-
                         402/403
        130:17
   19   131:3-132:12     402/403
        133:5-23         402/403
   20
        133:25           402/403
   21   134:2-16         402/403
        137:3-138:12     402/403
   22
        138:21-
                         402/403
   23   139:18
        140:1-8          402/403
   24   140:12-13        402/403
   25   141:15-142:3     402/403
        142:6            402/403
   26   142:8-143:5      402/403
        144:2-5          402/403
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        147:14-18        402/403
   28   147:21-22        402/403

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    1
                                              Curtis Huffmire
    2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                         Deposed on October 17, 2012
    3                                                      Covidien and                        Applied’s
                           Applied's
                                                             Gaya's         Covidien and      Objections to
    4    Covidien and     Objections to    Applied's
                                                           Objections to   Gaya's Counter-    Covidien and
           Gaya's         Covidien and     Counter-
                                                            Applied's         Counter-       Gaya’s Counter-
    5    Designations       Gaya's        Designations
                                                            Counter-        Designations        Counter-
                          Designations
                                                           Designations                       Designations
    6   147:24-148:3     402/403
    7   148:10-12        402/403
        151:10-13        402/403
    8   151:17           402/403
        171:14-172:3     402/403
    9
        172:5-9          402/403
   10   175:19-24        402/403
        176:4-177:1      402/403
   11
        177:12-178:7     402/403
   12   178:9-10         402/403
        178:12-16        402/403
   13   178:19           402/403
   14   178:21-
                         402/403
        179:23
   15   180:5-7          402/403
        180:18-181:3     402/403
   16
        182:1-9          402/403
   17   182:11-13        402/403
        182:16           402/403
   18
        183:6-24         402/403
   19   189:8-10         402/403
        189:13           402/403
   20   190:3-9          402/403
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    1
    2                                       Gary Johnson
                                      No. 05-cv-8914 GPS (SHx)
    3                                Deposed on October 19, 2006
                                                              Covidien and
    4                   Applied's                                             Covidien and
                                                                 Gaya's
        Covidien and   Objections to        Applied's                           Gaya's
    5                                                         Objections to
          Gaya's       Covidien and          Counter-                          Counter-
                                                               Applied's
        Designations     Gaya's            Designations                        Counter-
    6                                                           Counter-
                       Designations                                           Designations
                                                              Designations
    7   6:10-11
    8   6:14-19
        11:7-16
    9   70:4-15
   10   72:11-25
        78:19-23
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    1
    2                                        Gary Johnson
                                       No. 05-cv-8914 GPS (SHx)
    3                                 Deposed on October 31, 2006
                                                               Covidien and
    4                     Applied's                                            Covidien and
                                                                  Gaya's
        Covidien and    Objections to        Applied's                           Gaya's
    5                                                          Objections to
          Gaya's        Covidien and          Counter-                          Counter-
                                                                Applied's
        Designations       Gaya's           Designations                        Counter-
    6                                                            Counter-
                        Designations                                           Designations
                                                               Designations
    7   241:10-243:2   402/403
    8   243:4          402/403
        243:16-20      402/403
    9   243:24         402/403
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    1
    2                                      Gary Johnson
                                        No. 50 133T00316 06
    3                        Arbitration Testimony of October 11, 2007
                                                             Covidien and
    4                   Applied's                                             Covidien and
                                                                Gaya's
        Covidien and   Objections to        Applied's                           Gaya's
    5                                                        Objections to
          Gaya's       Covidien and         Counter-                           Counter-
                                                               Applied's
        Designations     Gaya's           Designations                         Counter-
    6                                                          Counter-
                       Designations                                           Designations
                                                             Designations
    7                                                      FRE 106;
    8                                                      FRE 402;
                                                           FRE 403;
    9                                                      FRE 602;
                                                           FRE 802;
   10                                                      FRCP 32(a)(6)
        1173:7-14                      1175:2-9            (Scope)           1176:14-1177:2
   11                                                      FRE 402;
   12                                                      FRE 403;
                                                           FRE 802;
   13                                                      FRCP 32(a)(6)
        1174:4-6                       1176:7-13           (Scope)
   14                                                      FRE 106;
                                                           FRE 402;
   15                                                      FRE 403;
   16                                                      FRE 602;
                                                           FRE 802;
   17                                                      FRCP 32(a)(6)
        1177:15-18                     1191:21-1192:7      (Scope)
   18   1178:2-22
   19   1180:4-
        1181:10
   20   1182:5-22
        1183:8-
   21   1185:16
   22   1186:15-21
        1188:1-10
   23   1188:17-
        1189:15
   24   1190:4-
   25   1190:17
        1191:11-15
   26   1193:6-16
        1194:9-
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        1195:11
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    1
                                          Gary Johnson
    2                                  No. 50 133T00316 06
                            Arbitration Testimony of October 11, 2007
    3   1200:17-
    4   1201:18
        1208:2-12
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    1
    2                                       Norman Morales
                     No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
    3                                   Deposed on May 24, 2013
                                                               Covidien and
    4                      Applied's                                             Covidien and
                                                                   Gaya's
        Covidien and      Objections to        Applied's                            Gaya's
    5                                                          Objections to
            Gaya's        Covidien and         Counter-                            Counter-
                                                                 Applied's
         Designations        Gaya's          Designations                          Counter-
    6                                                            Counter-
                          Designations                                           Designations
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    1
                                            Norman Morales
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on May 24, 2013
    3                                                          Covidien and
                           Applied's                                             Covidien and
    4                                                              Gaya's
        Covidien and      Objections to        Applied's                            Gaya's
                                                               Objections to
            Gaya's        Covidien and         Counter-                            Counter-
    5    Designations        Gaya's          Designations
                                                                 Applied's
                                                                                   Counter-
                                                                 Counter-
    6                     Designations                                           Designations
                                                                Designations
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    1
                                           Norman Morales
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on May 24, 2013
    3                                                          Covidien and
                           Applied's                                             Covidien and
    4                                                              Gaya's
        Covidien and      Objections to      Applied's                              Gaya's
                                                               Objections to
            Gaya's        Covidien and        Counter-                             Counter-
    5    Designations        Gaya's         Designations
                                                                 Applied's
                                                                                   Counter-
                                                                 Counter-
    6                     Designations                                           Designations
                                                                Designations
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   11   71:6-12
   12   73:6-22
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   14   76:22-77:13     402/602
                        402/602 as to
   15   77:16-22        77:16-18
        77:25-78:6      402/602
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        78:7-15         402/602
   17   78:17-18        402/602
        78:20-23        402/602
   18                   402/602 as to
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   20                   79:25-81:4,
                        402/602 as to
   21   79:25-81:8      81:5-8
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        81:14-15        402/602
   23   81:18-22        402/602
        81:24-25        402/602
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        82:2-6          402/602
   25   82:9-13         402/602
        82:15-20        402/602
   26   82:22-23        402/602
   27   82:25-83:9      402/602
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    1
                                           Norman Morales
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on May 24, 2013
    3                                                          Covidien and
                           Applied's                                             Covidien and
    4                                                              Gaya's
        Covidien and      Objections to      Applied's                              Gaya's
                                                               Objections to
            Gaya's        Covidien and        Counter-                             Counter-
    5    Designations        Gaya's         Designations
                                                                 Applied's
                                                                                   Counter-
                                                                 Counter-
    6                     Designations                                           Designations
                                                                Designations
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        87:23-88:13
   10   88:15-89:11
        89:19-21
   11   89:24-90:5
   12   90:6-16
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   13   91:1-16
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   15   98:4-102:10
   16   102:12-14
        102:18-23
   17   102:24-104:10
        104:15-105:3
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        106:9-14
   19   110:24-111:3
        111:6-11
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        112:12-14
   21   112:18-113:20
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   27   123:1-17        402/403
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   28   124:12-125:14 402/403

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    1
                                           Norman Morales
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on May 24, 2013
    3                                                          Covidien and
                            Applied's                                            Covidien and
    4                                                              Gaya's
        Covidien and      Objections to      Applied's                              Gaya's
                                                               Objections to
           Gaya's         Covidien and        Counter-                             Counter-
    5    Designations         Gaya's        Designations
                                                                 Applied's
                                                                                   Counter-
                                                                 Counter-
    6                     Designations                                           Designations
                                                                Designations
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    8   126:3-127:22    as to 402/403
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    9   128:22-129:13 402/403
   10   129:14-130:10 402/403
        130:13-16       402/403
   11   130:25-131:2    402/403
   12   131:5-131:13    402/403
        133:22-134:7    402/403
   13   136:18-137:18 402/403
        138:24-139:22 402/403
   14
        139:25          402/403
   15   140:20-25       402/403
        141:5-7         402/403
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        141:18-23       402/403
   17   142:1-14        402/403
        142:22-143:11 402/403
   18   143:14          402/403
   19   143:18-144:3    402/403
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   20   144:17-145:8    402/403
   21   145:11-14       402/403
        145:15-146:1    402/403
   22   146:2-14        402/403
   23   147:11-149:4    402/403
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    1
                                           Norman Morales
    2                No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on May 24, 2013
    3                                                          Covidien and
                           Applied's                                             Covidien and
    4                                                              Gaya's
        Covidien and      Objections to      Applied's                              Gaya's
                                                               Objections to
           Gaya's         Covidien and        Counter-                             Counter-
    5    Designations        Gaya's         Designations
                                                                 Applied's
                                                                                   Counter-
                                                                 Counter-
    6                     Designations                                           Designations
                                                                Designations
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    1
    2                                           Norman Morales
                                           No. 05-cv-8914 GPS (SHx)
    3                                      Deposed on July 26, 2007
                         Applied's                     Covidien and                        Applied’s
    4                   Objections                       Gaya's         Covidien and      Objections to
         Covidien and                   Applied's
                        to Covidien                    Objections to   Gaya's Counter-    Covidien and
    5      Gaya's
                        and Gaya's
                                        Counter-
                                                        Applied's         Counter-       Gaya’s Counter-
         Designations                  Designations
                        Designation                     Counter-        Designations        Counter-
    6                        s                         Designations                       Designations
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    8                                                 FRE 402
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    1
                                                Norman Morales
    2                                      No. 05-cv-8914 GPS (SHx)
                                           Deposed on July 26, 2007
    3                    Applied's                     Covidien and                        Applied’s
                        Objections                       Gaya's         Covidien and      Objections to
    4    Covidien and
                        to Covidien
                                        Applied's
                                                       Objections to   Gaya's Counter-    Covidien and
           Gaya's                       Counter-
                        and Gaya's                      Applied's         Counter-       Gaya’s Counter-
    5    Designations                  Designations
                        Designation                     Counter-        Designations        Counter-
                             s                         Designations                       Designations
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    9                                                 FRE 402
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   18                                                 FRE 402
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   19   154:24-                                       FRE 402
   20   155:11                        219:23-25       FRE 403
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   24   182:6-11        602
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        183:6-21
   26   187:23-
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   27   188:23-
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    1
                                               Norman Morales
    2                                     No. 05-cv-8914 GPS (SHx)
                                          Deposed on July 26, 2007
    3                    Applied's                    Covidien and                        Applied’s
                        Objections                      Gaya's         Covidien and      Objections to
    4    Covidien and
                        to Covidien
                                       Applied's
                                                      Objections to   Gaya's Counter-    Covidien and
           Gaya's                      Counter-
                        and Gaya's                     Applied's         Counter-       Gaya’s Counter-
    5    Designations                 Designations
                        Designation                    Counter-        Designations        Counter-
                             s                        Designations                       Designations
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    8   191:15-23
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        206:19-207:9    402/403
   11   207:13-208:2    402/403
        214:17-
   12   215:11          402/403
   13   215:23-216:5    402/403
        216:9-219:3     402/403
   14   219:17-21       402/403
   15   226:9-227:14    402/403
        229:23-232:7    402/403
   16   237:21-238:4    402/403
   17   238:9-24        402/403
        239:4-13        402/403
   18   239:17-240:4    402/403
        240:6-16        402/403
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        252:19-23
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   23   256:10-257:8

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    1
    2                                       Norman Morales
                                          No. 50 133T00316 06
    3                          Arbitration Testimony of October 11, 2007
                                                                Covidien and
    4                     Applied's                                               Covidien and
                                                                   Gaya's
        Covidien and    Objections to         Applied's                             Gaya's
    5                                                           Objections to
          Gaya's        Covidien and          Counter-                             Counter-
                                                                 Applied's
        Designations       Gaya's           Designations                           Counter-
    6                                                             Counter-
                        Designations                                              Designations
                                                                Designations
    7                                                        FRE 402
    8                                                        FRE 403 with
                                         Direct Testimony    respect to all      1336:14-1337:4
    9                                    of Norman           except ¶¶ 19, 20,
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   10   1327:17-                                             FRE 402
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   16                                    1364:17-1365:7      FRE 403             1387:2-10
        1333:4-5                                             AC
   17                                                        FRE 402
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   18                                                        FRE 106
   19                                                        FRE 402
        1333:19-                                             FRE 403
   20   1334:9                           1375:13-1376:10     AC
                       402/403 as to
   21                                                        FRE 402
        1334:13-       1334:4-9,
                                                             FRE 403
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                                                             FRE 402
   23                                                        FRE 403
        1335:18-19                       1384:3-12           FRE 802
   24                                                        FRE 106
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        1336:4-9       402/403                               FRE 802
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   26   1342:10-
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   27   1346:16-
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    1
                                           Norman Morales
    2                                     No. 50 133T00316 06
                               Arbitration Testimony of October 11, 2007
    3   1349:3-9
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        1361:10
    5   1361:22-
        1362:21
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    7   1364:16
        1365:8-
    8   1366:14
        1369:1-
    9   1370:16
   10   1371:7-10       402/403/602
        1371:18-
   11   1372:19         402/403/602
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   12   1377:3          1376:21-1377:3
   13   1377:4-10       602
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   14   1378:1          602
        1378:4-7        602
   15   1378:11         602
   16   1378:20-
        1379:10
   17   1379:17-21      402/403
        1380:4-6        402/403
   18
        1380:15-17      402/403
   19                   402/403 as to
        1381:3-1382:6   1381:3-1382:6
   20   1382:7-1383:6   402/403
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        1389:12
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    1
    2                                         Edward Pingleton
                        No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
    3                                   Deposed on September 25, 2012
                         Applied's
    4    Covidien and   Objections to
                                                                 Covidien and Gaya's     Covidien and
                                           Applied's Counter-       Objections to       Gaya's Counter-
           Gaya's       Covidien and
    5    Designations     Gaya's
                                             Designations        Applied's Counter-        Counter-
                                                                    Designations         Designations
                        Designations
    6                                                            FRE 402
        7:13-24                           7:25 – 9:2             FRE 403                25:9-10
    7                                                            FRE 402
        10:1-3                            9:11-14                FRE 403
    8                                                            FRE 402
        10:25-11:12                       10:10-24               FRE 403
    9                                                            FRE 402
        11:17-22                          17:14 – 18:10          FRE 403
   10                                                            FRE 402
        12:1-19                           19:3-7                 FRE 403
   11                                                            FRE 402
        12:22                             19:10-12               FRE 403
   12                                                            FRE 106
                                                                 FRE 402
   13   13:4-14:9                         22:20 – 23:5           FRE 403
                                                                 FRE 106
   14                                                            FRE 402
        14:24-15:2                        23:13-21               FRE 403
   15                                                            FRE 106
                                                                 FRE 402
   16   15:4                              24:14-25               FRE 403
                                                                 FRE 402
                                                                 FRE 403
   17   20:16-21:18                       29:16 – 30:3           U
                                                                 FRE 402
   18                                                            FRE 403
        21:21-22:9                        31:24 – 32:8           U
   19                                                            FRE 402
                                                                 FRE 403
   20   27:15-28:6                        32:10                  U
                                                                 FRE 402
   21                                                            FRE 403
        28:11-29:5                        32:12-13               U
   22                                                            FRE 402
                                                                 FRE 403
   23   29:8-9                            32:16                  U
                                                                 FRE 402
   24                                                            FRE 403
        29:11-15                          33:3-5                 U
   25                                                            FRE 402
                                                                 FRE 403
   26   30:12-31:15                       33:8-9                 U
                                                                 FRE 402
   27                                                            FRE 403
        31:17                             33:11 – 34:20          U
   28   32:18-22                          34:23 – 35:15          FRE 402


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    1
                                              Edward Pingleton
    2                   No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                        Deposed on September 25, 2012
    3                    Applied's
                                                                 Covidien and Gaya's     Covidien and
         Covidien and   Objections to
    4      Gaya's       Covidien and
                                           Applied's Counter-       Objections to       Gaya's Counter-
                                             Designations        Applied's Counter-        Counter-
         Designations     Gaya's
    5                                                               Designations         Designations
                        Designations
                                                                 FRE 403
    6                                                            U
        32:24-33:1                        40:9-13
    7                                                            FRE 402
                                                                 FRE 403
    8   36:13-16                          66:13-16               FRE 602
                                                                 FRE 402
    9                                                            FRE 403
        41:8-22                           66:18-19               FRE 602
   10                                                            FRE 402
        58:3-14                           71:25 – 72:15          FRE 403
   11                                                            FRE 402
                                                                 FRE 403
   12   58:20-59:9                        77:18 – 78:15          FRE 802
        60:7-19                           88:20 – 89:7
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        61:5-10
   14   61:12-13
        61:15-16
   15   61:24-62:6
   16   62:13
        62:15
   17   62:17-63:9
   18   64:10-15
        66:21-22
   19   66:25-67:1
        69:11-71:24
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    1
    2                                        Scott Taylor
                                      No. 05-cv-8914 GPS (SHx)
    3                                Deposed on October 26, 2006
                                                              Covidien and
    4                   Applied's                                              Covidien and
                                                                 Gaya's
        Covidien and   Objections to         Applied's                           Gaya's
    5                                                         Objections to
          Gaya's       Covidien and          Counter-                           Counter-
                                                                Applied's
        Designations     Gaya's            Designations                         Counter-
    6                                                           Counter-
                       Designations                                            Designations
                                                              Designations
    7                                                       FRE 402
                                                                              134:11-18
    8   6:10-14                         32:15-33:14         FRE 403
                                                            FRE 402
    9   7:1-5                           33:18               FRE 403
                                                            FRE 402
   10   17:2-12                         45:22-46:8          FRE 403
                                                            FRE 402
   11   45:13-21                        46:13-16            FRE 403
   12   51:5-20                         62:8-63:17          FRE 802
                                                            FRE 402
   13   52:4-7                          64:6-7              FRE 403
                                                            FRE 402
   14   52:10-53:11                     64:10-11            FRE 403
   15                                                       FRE 402
        59:11-60:7                      64:13-14            FRE 403
   16   60:12-62:7                      65:6-23             FRE 802
                                                            FRE 402
   17   63:18-64:5                      67:7-19             FRE 403
   18   64:15-65:5                      89:17-20            FRE 802
        84:20-86:10                     90:13-15            FRE 802
   19   86:11-89:16                     90:25-91:2          FRE 802
   20   89:21-90:12                     91:4 – 92:6         FRE 802
                                                            FRE 402
   21   90:16-19                        99:20-100:1         FRE 403
        94:15-21                        112:24-113:10       FRE 802
   22   95:1-23                         125:25-126:18       FRE 802
   23   95:25-96:6                      131:1-15            FRE 802
        96:12-25                        132:15-21           FRE 802
   24                                                       FRE 402
                                                            FRE 403
   25   99:9-19                         142:12-143:3        FRE 802
   26                                                       FRE 402
        109:14-20                       145:13-23           FRE 403
   27   111:6-112:23
        113:11-16
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    1
                                          Scott Taylor
    2                              No. 05-cv-8914 GPS (SHx)
                                  Deposed on October 26, 2006
    3   124:12-125:15
    4   125:21-24
        126:21-129:1
    5   130:18-21
    6   131:16-132:2
        132:5
    7   139:1-140:12
    8   140:18-141:25
        143:21-144:22
    9   145:1-12
        149:1-151:5
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    1
    2                                        Scott Taylor
                                         No. 50 133T00316 06
    3                         Arbitration Testimony of October 11, 2007
                                                              Covidien and
    4                    Applied's                                            Covidien and
                                                                 Gaya's
        Covidien and    Objections to        Applied's                          Gaya's
    5                                                         Objections to
          Gaya's        Covidien and         Counter-                          Counter-
                                                                Applied's
        Designations      Gaya's           Designations                        Counter-
    6                                                           Counter-
                        Designations                                          Designations
                                                              Designations
    7   1234:10-13                      1237:8-1240:16      FRE 802
    8                                                       FRE 402
                                                            FRE 403
    9   1236:3-1237:7                   1248:14-1249:4      FRE 802
        1243:8-
   10                                                       FRE 802
        1245:20                         1256:2-1257:3
   11   1246:8-1247:1                   1288:9-10
                                                            FRE 402
   12   1247:20-                        1318:9-1319:10      FRE 403
        1248:13                                             FRE 802
   13   1249:9-
        1250:11
   14
        1250:12-
   15   1255:2
        1255:18-
   16   1256:1
        1269:14-
   17   1270:11
   18   1270:14
        1270:16-
   19   1271:15
        1271:16-
   20   1272:2
   21   1276:13-21
        1277:8-20
   22   1285:18-
        1287:9
   23   1287:20-
   24   1288:8
        1289:18-20
   25   1291:10-
        1292:18
   26   1292:19-
   27   1294:7
        1301:16-
   28   1302:20

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    1
                                              Scott Taylor
    2                                     No. 50 133T00316 06
                               Arbitration Testimony of October 11, 2007
    3                                                          Covidien and
                          Applied's                                                        Covidien and
    4                                                             Gaya's
        Covidien and     Objections to        Applied's                                      Gaya's
                                                               Objections to
          Gaya's         Covidien and         Counter-                                      Counter-
    5   Designations       Gaya's           Designations
                                                                 Applied's
                                                                                            Counter-
                                                                 Counter-
    6                    Designations                                                      Designations
                                                               Designations
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    7   1303:16
    8   1303:22-
        1304:8
    9   1304:10-11
        1304:13-21
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        1304:22-
   11   1305:16
        1305:17-
   12   1307:5
        1307:10-21
   13
        1307:22-
   14   1308:5
        1308:6-1310:5
   15   1310:6-8
   16   1310:13-
        1311:10
   17   1311:11-
        1312:10
   18   1312:11-16
   19   1315:8-10
        1315:12-
   20   1316:15
        1319:20-
   21   1320:3
   22
                                                Payam Adlparvar
   23                     No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                            Deposed on October 16, 2012
   24                                                      Covidien and
                         Applied's
                                                              Gaya's
   25    Covidien and   Objections to      Applied's
                                                           Objections to     Covidien and Gaya's Counter-
           Gaya's       Covidien and        Counter-
                                                            Applied's           Counter-Designations
         Designations     Gaya's          Designations
   26                   Designations
                                                             Counter-
                                                           Designations
   27   7:5-7                           12:25 – 13:1                       58:7-9
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   28   7:10-15                          19:17-19        FRE 402           66:5-7


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    1
                                                   Payam Adlparvar
    2                     No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                          Deposed on October 16, 2012
    3                                                    Covidien and
                         Applied's
                                                            Gaya's
    4    Covidien and   Objections to     Applied's
                                                         Objections to       Covidien and Gaya's Counter-
           Gaya's       Covidien and      Counter-
                                                          Applied's             Counter-Designations
    5    Designations     Gaya's         Designations
                                                           Counter-
                        Designations
                                                         Designations
    6                                                  FRE 403
                                                           FRE 106
    7                                                      FRE 402
        7:23-8:2                        20:22 – 22:21      FRE 403         86:1-7
    8                                                      FRE 106
                                                           FRE 402
    9   9:5-10:7                        24:6 – 25:12       FRE 403         101:1-3
                                                           FRE 106
   10                                                      FRE 402
        11:3-6                          26:12 – 27:3       FRE 403         101:5-10
   11                                                      FRE 106
                                                           FRE 402
   12   11:21-25                        27:4-7             FRE 403        103:1-5
                                                           FRE 106
   13                                                      FRE 402
        12:7-20                         27:10-13           FRE 403
   14   12:23-24                        30:13-24
        13:2-23                         33:13-15
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        18:15-23                        33:17
   16                                                      FRE 106
                                                           FRE 402
   17   19:20-20:21                     34:3-16            FRE 403
                                                           FRE 402
   18   29:4-30:7       402             36:13-19           FRE 403
                                                           FRE 402
   19   30:8-12                         36:22-25           FRE 403
                                                           FRE 402
   20   31:16-32:2                      37:1-4             FRE 403
                                                           FRE 106
                                                           FRE 402
   21                                                      FRE 403
        33:5-12                         52:15-25           U
   22                                                      FRE 106
                                                           FRE 402
   23                                                      FRE 403
        33:19-22                        53:1-19            U
   24
        40:15-19                        58:3-6
   25                                                      FRE 106
                                                           FRE 402
        60:2-9                          65:4-13            FRE 403
   26                                                      FRE 106
                                                           FRE 402
   27   60:11-20                        65:16-17           FRE 403
                                                           FRE 106
   28   63:14-20                        65:19-23           FRE 402


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    1
                                                   Payam Adlparvar
    2                     No. 11-cv-1406 JVS (ANx) Consolidated with 13-cv-24 JVS (ANx)
                                          Deposed on October 16, 2012
    3                                                    Covidien and
                         Applied's
                                                            Gaya's
    4    Covidien and   Objections to     Applied's
                                                         Objections to       Covidien and Gaya's Counter-
           Gaya's       Covidien and      Counter-
                                                          Applied's             Counter-Designations
    5    Designations     Gaya's         Designations
                                                           Counter-
                        Designations
                                                         Designations
    6                                                  FRE 403

    7   63:23-64:4                      82:13-25
                                                           FRE 106
    8                                                      FRE 402
        64:13-16                        84:4-85:25         FRE 403
    9                                                      FRE 106
                                                           FRE 402
        64:19-65:2                      100:9-18           FRE 403
   10                                                      FRE 106
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   11   82:9-12                         101:16-20          FRE 403
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   12                                                      FRE 402
        83:1-25                         101:23-24          FRE 403
   13                                                      FRE 106
                                                           FRE 402
   14   104:4-23                        102:2-9            FRE 403
                                                           FRE 106
   15                                                      FRE 402
        105:5-19                        113:19 – 114:9     FRE 403
   16   111:2-6
   17   111:17-21
        111:22-112:2
   18   112:12-25

   19   113:6-12
        113:16-17
   20   115:1-4
        115:8-9
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    1
    2                           Index of Covidien's and Gaya's Objections
                  Code                   Applicable Rule                    Objection
    3
                                   FRE 106 Federal Rule of
        FRE 106                                                Incomplete document or testimony
    4                              Evidence 106
    5                              FRE 402 Federal Rule of
        FRE 402                                                Irrelevant
                                   Evidence 402
    6
    7                              FRE 403 Federal Rule of     Unduly prejudicial, wasteful,
        FRE 403
                                   Evidence 403                confusing, misleading or cumulative
    8
    9
   10                                                          Lack of foundation/personal
                                   FRE 602 Federal Rule of
        FRE 602                                                knowledge (including calls for
                                   Evidence 602
   11                                                          speculation)

   12
                                   FRE 611 Federal Rule of     Argumentative, or attorney
        FRE 611
   13                              Evidence 611                argument

   14   FRE 701
                                   FRE 702 Federal Rule of
                                                               Opinion testimony by lay witness
                                   Evidence 701
   15
   16                              FRE 702 Federal Rule of     Improper foundation/basis for expert
        FRE 702/703
                                   Evidence 702                testimony
   17
   18                                                          Hearsay if offered for the truth of
                                   Federal Rule of Evidence    the matter
        FRE 802
                                   802
   19                                                          asserted
   20   FRCP 32(a)(6) (scope)
                                   Federal Rule of Civil       Beyond the scope of the initial
                                   Procedure 32(a)(6)          designations
   21
        AC                                                     AC Attorney Colloquy
   22
   23                                                          Beyond the scope of the 30(b)(6)
        S
                                                               notice
   24   I                                                      Incomplete Hypothetical
                                                               Uncorroborated Inventorship
   25   U
                                                               Testimony
   26   V                                                      Vague

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